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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                    CASE NO. 8:12CR107

                     Plaintiff,

      vs.                                                      MEMORANDUM
                                                                AND ORDER
TAMMY L. SCHUCK and
CHRISTOPHER J. TIERNEY,

                     Defendants.


       This matter is before the Court on the Findings and Recommendation (Filing No.

75) issued by Magistrate Judge Thomas D. Thalken denying the motions for a bill of

particulars filed by Defendant Tammy L. Schuck (Filing No. 54) and by Defendant

Christopher J. Tierney (Filing No. 60). Judge Thalken recommended that the motions to

dismiss filed by Schuck (Filing No. 56) and Tierney (Filing No. 62) and to suppress filed

by Schuck (Filing No. 58) and Tierney (Filing No. 64) be denied. Tierney has not filed a

statement of objections to the Order or Findings and Recommendation. Schuck filed

objections to Judge Thalken’s Findings and Recommendations with respect to her

motion for a bill of particulars, to dismiss, and to suppress, and a supporting brief (Filing

Nos. 80, 81) as allowed by 28 U.S.C. § 636(b)(1) and NECrimR 59.2(a).                   The

government responded (Filing No. 82) as allowed by NECrimR 59.2(a).

                                  FACTUAL BACKGROUND

       The Defendants are charged in Count 1 of the Indictment under 18 U.S.C. § 371

with conspiracy to (1) use a facility in interstate commerce to promote, manage,

establish, carry on, and facilitate a prostitution business, in violation of 18 U.S.C. §

2422(a) after performing or attempting to perform an act to promote, manage, establish,
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carry on, and facilitate the prostitution business, in violation of 18 U.S.C. §

1952(a)(3)(A); and persuade, induce, entice, and coerce an individual to travel in

interstate commerce to engage in prostitution and sexual activity with which one may be

charged with a criminal offense, in violation of 18 U.S.C. § 2422(a). Schuck is also

charged in Counts 3, 4, 6 and 7 with violating 18 U.S.C. § 1952(a)(3)(A) as a member of

the conspiracy charged in Count I. Tierney is similarly charged in Counts 3, 5, 6 and 7.

      Both Defendants moved for a bill of particulars, arguing that they lack specifics

with respect to the charges despite the 25,000 pages of discovery and audio and video

recordings provided by the government.

      Schuck moved to dismiss Counts 3, 4, 6 and 7, arguing they are duplicative in

that they charge the same crime alleged in Count 1. Tierney moved to dismiss Counts

3, 5, 6 and 7 on the same grounds.

      Both Defendants moved to suppress evidence seized in the search of the

Advantage Day Spa, 622 South 72nd Street, Omaha, Nebraska, and the OT Spa, 624

South 72nd Street, Omaha, Nebraska. They argue: the search warrant affidavit lacked

probable cause; and the executing officers seized items beyond the scope of the search

warrant. The items they contend are beyond the scope of the warrant include Playboy

magazines; a photographic montage of naked women; bikini bathing suits; condoms

that were contained in a purse; and an identification card, a gas bill, and condoms that

were contained in a wallet.

      Following an evidentiary hearing, Judge Thalken issued oral findings of fact and

conclusions of law and a Findings and Recommendation. Judge Thalken denied the

Motions for a Bill of Particulars. Regarding the motions to dismiss, Judge Thalken



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recommends that they be denied. He reasoned that the counts challenged are each

substantive crimes under the Pinkerton1 theory of vicarious liability charged separate

from the conspiracy charged in Count 1. With respect to the motions to suppress,

Judge Thalken concluded: Tierney lacked standing; probable cause existed within the

search warrant affidavit;2 even assuming probable cause was lacking, the good faith

exception applied; and the search warrant was appropriately executed. Judge Thalken

therefore recommends that the motion to suppress be denied.

I.     MOTIONS FOR A BILL OF PARTICULARS

       In an appeal from a magistrate judge’s order on a pretrial matter contemplated by

28 U.S.C. § 636(b)(1)(A), a district court may set aside any part of the order only if it is

shown to be clearly erroneous or contrary to law. See also U.S. v. Johnson, 225 F.

Supp. 2d 982, 988 (N.D. Iowa 2002) (“The court will consider . . . whether the

challenged portions of Judge Zoss's rulings on Johnson's motion for a bill of particulars .

. . are either ‘clearly erroneous’ or ‘contrary to law.’”).

       Judge Thalken denied Schuck’s Motion for a Bill of Particulars, reasoning that the

indictment in this case was detailed and specific and that the government adopted a

virtual “open file” policy under which Schuck’s counsel could review anything discovery

contained in the government’s file. See U.S. v. Canino, 949 F.2d 928, 949 (7th Cir.

1991) (citations omitted) (citing U.S. v. Stephenson, 924 F.2d 753, 761-62 (8th Cir.

1991)) (“The nature and operations of the ‘open-file’ policy is an adequate ‘satisfactory

form’ of information retrieval, making the bill of particulars unnecessary.”)       Schuck


       1
           See Pinkerton v. U.S., 328 U.S. 640, 647-48 (1946).
       2
        The finding of probable cause was implicit: “the good faith exception applies in
the event that . . . probable cause is lacking in this matter.” (Tr. 51:22-24.)
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objects to the denial of her motion, arguing that despite the massive amount of

discovery in this case, without a bill of particulars, she will be left to guess the specifics

as to the dates, places, individuals, and manner in which she allegedly persuaded,

induced, enticed, or coerced someone into traveling in interstate commerce to engage

in prostitution.   She argues that it is nearly impossible to sift through the massive

amounts of discovery provided to her in order to discern this information.

       Having reviewed the indictment, and keeping in mind the discovery the

government has made available to Schuck, the Court finds that the denial of the Motion

for a Bill of Particulars was not clearly erroneous or contrary to law.         See U.S. v.

Wessels, 12 F.3d 746, 750 (8th Cir. 1993) (“the primary purpose of a bill of particulars is

to inform the defendant of the nature of the charges against him and to prevent or

minimize the element of surprise at trial.”); U.S. v. Arenal, 768 F.2d 263, 268 (8th Cir.

1985) (“The granting or denying of a bill of particulars lies within the broad discretion of

the trial court.”). Therefore, Judge Thalken’s order denying the Motion for a Bill of

Particulars will be upheld.

II.    MOTIONS TO DISMISS

       Under 28 U.S.C. § 636(b)(1)(C), when a magistrate judge issues proposed

findings and recommendation on a motion to dismiss, the Court must make a de novo

determination of those portions of the findings and recommendation to which the

Defendant has objected. The Court may accept, reject, or modify, in whole or in part,

the Magistrate Judge's findings or recommendations.           The Court may also receive

further evidence or remand the matter to the Magistrate Judge with instructions.




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       “Multiplicity is the charging of a single offense in several counts.” U.S. v. Street,

66 F.3d 969, 975 (8th Cir. 1995) (internal quotation marks omitted). Its “vice . . . is that

it may lead to multiple sentences for the same offense.” Id. “‘[W]here the same act or

transaction constitutes a violation of two distinct statutory provisions, the test to be

applied to determine whether there are two offenses or only one, is whether each

provision requires proof of a fact which the other does not.’” U.S. v. Johnson, 352 F.3d

339, 343 (8th Cir. 2003) (quoting Blockburger v. U.S., 284 U.S. 299, 304 (1932)).

       Count I charges Schuck and Tierney with a conspiracy, while the Counts 3

through 7 charge Schuck and/or Tierney with substantive crimes under a Pinkerton

theory of vicarious criminal liability.   Pinkerton provides that “‘each member of a

conspiracy may be held criminally liable for any substantive crime committed by a co-

conspirator in the course and furtherance of the conspiracy, even though those

members did not participate in or agree to the specific criminal act.’” U.S. v. Navarrete-

Barron, 192 F.3d 786, 792 (8th Cir. 1999) (quoting U.S. v. Golter, 880 F.2d 91, 93 (8th

Cir. 1989)). In other words, a conspiracy does not duplicate the substantive crimes for

which a defendant may be held liable under a Pinkerton theory of vicarious criminal

liability. They are separate crimes for which a defendant may be held criminally liable.

Therefore, the Court adopts Judge Thalken’s findings and recommendation with respect

to the Motions to Dismiss.

III.   MOTIONS TO SUPPRESS

       Schuck objects to Judge Thalken’s “implicit finding that the warrant contained

probable cause,” and to the finding that the Leon good-faith exception applies. Finally,




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she objects to the finding that all of the items seized were properly described in the

search warrant.

         Under 28 U.S.C. § 636(b)(1)(C), when a magistrate judge issues proposed

findings and recommendation on a motion to suppress evidence in a criminal case, the

Court must make a de novo determination of those portions of the findings and

recommendation to which the Defendant has objected. The Court may accept, reject,

or modify, in whole or in part, the findings and recommendation. The Court may also

receive further evidence or remand the matter to the Magistrate Judge with instructions.

Having conducted a de novo review of the record, the Court adopts Judge Thalken’s

findings and recommendation with respect to the Motions to Suppress.

         “‘The Fourth Amendment commands that no Warrants shall issue, but upon

probable cause, supported by Oath or affirmation.’” U.S. v. Houston, 665 F.3d 991, 994

(8th Cir. 2012) (internal quotation marks omitted), cert. denied, 132 S. Ct. 2418 (U.S.

2012).     Generally, a violation of the Fourth Amendment’s command results in

“‘suppression of the evidentiary fruits of the transgression.’” Id. (quoting U.S. v. Fiorito,

640 F.3d 338, 345 (8th Cir. 2011)). However, “this exclusionary rule does not apply

‘when an officer acting with objective good faith has obtained a search warrant from a

judge or magistrate and acted within its scope.’” Id. (quoting U.S. v. Leon, 468 U.S.

897, 920 (1984)). Instead, “‘evidence seized pursuant to a search warrant issued by a

magistrate that is later determined to be invalid, will not be suppressed if the executing

officer's reliance upon the warrant was objectively reasonable.’” Id. at 995 (quoting U.S.

v. Proell, 485 F.3d 427, 430 (8th Cir. 2007)). A court need not conduct a probable




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cause analysis before “consider[ing] whether th[is] good-faith exception applies[.]” Id. at

994-95 (citing U.S. v. Proell, 485 F.3d 427, 430 (8th Cir. 2007)).

       The inquiry under the good-faith exception is an objective one: “‘whether a

reasonably well trained officer would have known that the search was illegal despite the

[issuing judge’s] authorization.’” Id. at 995 (alteration in original) (quoting Proell, 485

F.3d at 430). Therefore, the good-faith exception will not apply “when the warrant is so

facially deficient that no police officer could reasonably presume the warrant to be

valid.” Id. (internal quotations omitted). The good-faith exception will also not apply:

       (1) when the affidavit or testimony supporting the warrant contained a
       false statement made knowingly and intentionally or with reckless
       disregard for its truth, thus misleading the issuing judge; (2) when the
       issuing judge “wholly abandoned his judicial role” in issuing the warrant;
       [or] (3) when the affidavit in support of the warrant is “so lacking in indicia
       of probable cause as to render official belief in its existence entirely
       unreasonable ”[.]

Id. (quoting Proell, at 431).

       Furthermore, “[e]vidence not described in a valid search warrant but having a

nexus with the crime under investigation may be seized at the same time the described

evidence is seized.” United States v. Kane, 450 F.2d 77, 85 (5th Cir. 1971) (citations

omitted) (citing U.S. v. Bridges, 419 F.2d 963 (8th Cir. 1969)).

       Nothing in the record leads the Court to believe that a reasonably well-trained

officer would have thought the search in this case was illegal despite the issuance of the

search warrant, or that any the other circumstances that prohibit the application of the

good-faith exception are present.          Therefore, the Court finds that the good-faith

exception applies in this case. Furthermore, the record reflects that the each of the

items seized during the search were either described in the warrant or had a sufficient



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nexus with the crime under investigation.       Therefore, the Court will adopt Judge

Thalken’s findings and recommendation with respect to the Motions to Suppress.

       Accordingly,

       IT IS ORDERED:

       1.     The Magistrate Judge’s Findings and Recommendation (Filing No. 75) is

adopted in its entirety;

       2.     Defendant Tammy L.       Schuck’s     objections   to   the   Findings   and

Recommendation (Filing No. 80) is overruled; and

       3.     The Motion to Dismiss Counts 3, 4, 6, and 7 (Filing No. 56) filed by

Defendant Tammy L. Schuck is denied;

       4.     The Motion to Suppress (Filing No. 58) filed by Defendant Tammy L.

Schuck is denied;

       5.     The Motion to Dismiss Counts 3, 5, 6, and 7 (Filing No. 62) filed by

Defendant Christopher J. Tierney is denied; and

       6.     The Motion to Suppress (Filing No. 64) filed by Defendant Christopher J.

Tierney is denied.



       Dated this 26th day of November, 2012.

                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                Chief United States District Judge




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